Case 8:06-cr-00043-S_B-MAP Document 434 Filed 02/10/12 Page 1 of 2 PageID 3203




                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

 UNITED STATES OF AMERICA

 -vs-                                                               Case No. 8:06-cr-43-T-24 MAP

 MICHAEL L. CONE, JOANNE K.
 CONE, and PATRICIA RANKIN
 GRABLE a/k/a Patricia “Pat” Rankin,

 _________________________________/

                                               ORDER
        This cause comes before the Court on Clearglass, LLC and BRA Associates, LLC’s
 (collectively referred to as “Movants”) Motion for Order Acknowledging Assignment of
 Restitution and to Amend Judgment in a Criminal Case. (Doc. No. 426). The Government
 opposes the motion. (Doc. No. 430). As explained below, the motion is denied.
        In this criminal case, the Court ordered that Defendants were jointly and severally liable
 for restitution in the amount of $1,776,248.66, payable to two payees. St. Paul’s Travelers’
 Insurance Company (“St. Paul”) was a named payee for $1,000,000, and the U.S. Bankruptcy
 Court was a named payee for $776,248.66. Thereafter, St. Paul assigned its right to the
 $1,000,000 restitution to Clearglass, LLC, and the Bankruptcy Court sold its right to the
 $776,248.66 restitution to BRA Associates, LLC.
        In the instant motion, Movants ask the Court to amend Defendants’ judgments in the
 instant case to reflect Movants as the new payees of the restitution amounts. Movants make this
 motion pursuant to Rule 36 of the Federal Rules of Criminal Procedure. Rule 36 provides that
 the court may “correct a clerical error in a judgment, order, or other part of the record, or correct
 an error in the record arising from oversight or omission.” However, as the change in the
 restitution payees occurred after the judgments were entered, it cannot be said that the judgments
 contain a clerical error or an error arising from oversight or omission. Accordingly, Movants’
 request is not authorized under Rule 36.
Case 8:06-cr-00043-S_B-MAP Document 434 Filed 02/10/12 Page 2 of 2 PageID 3204




        Additionally, the Court notes that Movants do not have standing in this case to request
 that the judgements be amended. The only parties with standing to make such a request are the
 Government and Defendants.
        Accordingly, it is ORDERED AND ADJUDGED that Movants’ motion is DENIED.

        DONE AND ORDERED at Tampa, Florida, this 10th day of February, 2012.




 Copies to:
 Counsel of Record




                                                2
